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|N THE UN!TED STATES D|STRlCT COURT

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Cr. NO. 04-20424-Ni|

Plaintit‘f,
vs.

LATONYA R. STEPHENS,

‘-_I"~_/"~_/\_r'~_r\_d\__/\-_r\._r

Defendant,
ORDER GRANTING GOVERNMENT’S ORAL MOTION
TO D|SM|SS COUNTS 2 THROUGH 5
This cause came to be heard before the court at the sentencing hearing held this
date upon the oral motion of counsel for the United States to dismiss counts 2 through 5
of the indictment in this case as to defendant Latonya R. Stephens, and it appears to the
Court that the plea agreement in this case having been accepted and sentence imposed

on count 1 of the indictment, the governmentl s motion ls well taken and should be granted.

so 0RDEREothis il_(€ day of /Q*\X .2005.

M. itt @£@
JO PH|PPS MCCALLA
U lted States District Judge

 

`l`his document entered on the docket sheet in c.m liance 7
with nme 55 and/or 32(b} Fnch on fz 'iz Q§§

   

UNITED sTEsAT D1STR1CT COURT - WEERST DISTR1CT TNNESSEE

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Honorable J on McCalla
US DISTRICT COURT

